                        IN THE UNITED STATES DISTRICT COURT                                            a motion for default judgment (Doc. #20) which included 95 pages of exhibits. Many of
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION                                                     the exhibits include parts of relevant text messages and email threads between the parties.

Daniel Valenzuela,                            )                                                     4. On September 9, 2020, a preliminary settlement discussion was held with this Court,
                                              )
                Plaintiff,                    )                                                        defense counsel and plaintiff’s counsel. The following deadlines were agreed to and
                                              )       Magistrate Judge Sunil Harjani
v.                                            )                                                        entered by this Court (Doc. #48):
                                              )       19 CV 06230
O’Hare Trucking Service,                      )                                                            •   Mr. Valenzuela would submit his settlement letter on October 22, 2020;
                                              )
                Defendant.                    )                                                            •   Defendant would provide its response on November 5, 2020; and

                                                                                                           •   the next status hearing would be on November 10, 2020.

     PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO SUBMIT                                   5. On September 15, 2020, at plaintiff’s counsel’s request, defendant provided an electronic
                          SETTLEMENT LETTER
                                                                                                       copy of Mr. Valenzuela’s answers to defendant’s interrogatories and document
     NOW COMES Plaintiff Daniel Valenzuela (“Mr. Valenzuela”), by and through his limited
                                                                                                       production requests. Document production included parts of relevant text messages and
scope attorney, JANAAN HASHIM, and pursuant to Federal Rule of Civil Procedure 6(b),
                                                                                                       email threads between the parties.
respectfully requests that this Court enter an order extending the time for Mr. Valenzuela to
                                                                                                    6. As a pro se litigant, Mr. Valenzuela was unaware of, and thus did not provide, written
submit his settlement letter from October 22, 2020 up to and including November 5, 2020, and
                                                                                                       discovery in the traditional manner as used between attorneys. Instead, his interrogatory
for subsequent deadline dates to be extended accordingly. In support of his unopposed motion,
                                                                                                       answers included documents and his document production referred to his interrogatory
Mr. Valenzuela states as follows:
                                                                                                       answers and included additional documents.

     1. Mr. Valenzuela is a pro se litigant and is culturally deaf. His native language is          7. Reviewing all of the written discovery is taking significantly more time than anticipated

        American Sign Language (“ASL”), which is not the same as the English language as               for the following reasons:

        ASL has different grammar and syntax than spoken English.                                          •   Documents span two sets of pleadings, answers to defendant’s interrogatories, and

     2. Mr. Valenzuela’s counsel is a settlement assistance program counsel appointed by this                  document production to defendant’s document production requests.

        Court on July 21, 2020.                                                                            •   Many of the documents are parts of conversations from text messages that appear

     3. Mr. Valenzuela filed his complaint (Doc. # 12) alleging violations of the Americans With               across the various means of document production, causing the need to ensure that
        Disabilities Act. The complaint included 75 pages of exhibits. Mr. Valenzuela later filed



                                                  1                                                                                             2
                 conversations provided are accurately pieced together and as complete as            2020, to extend the subsequent deadlines accordingly, and to grant such relief as the Court finds

                 possible.                                                                           reasonable and just.

           •     Because ASL is not spoken English, understanding the content of the text
                                                                                                                                                                 Respectfully Submitted,
                 messages and email threads is taking significantly more time than anticipated.
                                                                                                                                                                 /s/ Janaan Hashim
           •     Because Mr. Valenzuela and Plaintiff’s counsel speak different languages, the two                                                               _________________________
                                                                                                                                                                 Plaintiff’s Limited Scope Attorney
                 must use an interpreter and other tools of communications which have slowed

                 down the process of preparing the settlement letter.                                Janaan Hashim
                                                                                                     Amal Law Group, LLC
   8. Plaintiff respectfully requests a 14-day extension of time, up to and including November       225 W. Washington Boulevard
                                                                                                     Suite 2200
       5, 2020 to submit his settlement letter and for the subsequent deadlines to be extended by    Chicago, Illinois 60606
                                                                                                     708-361-3600
       14 days as well. Counsel for plaintiff would like to ensure that she has sufficient time to

       understand the written communications between the parties and that Mr. Valenzuela has

       sufficient time to review the settlement letter. Because of the language differences, Mr.

       Valenzuela will be reviewing the settlement letter drafts with counsel and with the use of

       an interpreter to ensure Mr. Valenzuela understands the substance of the settlement letter

       and that it properly reflects Mr. Valenzuela’s intentions.

   9. The requested extension is sought in good faith and not for the purposes of undue delay

       or prejudice.

   10. This is Mr. Valenzuela’s first request to extend the deadline to submit to his settlement

       letter.

   11. Counsel for Defendant has no objection to this motion.

   WHEREFORE, Plaintiff DANIEL VALENZUELA respectfully requests that this Honorable

Court grant an extension of time to submit his settlement letter up to and including November 5,




                                                  3                                                                                                  4
                              CERTIFICATE OF SERVICE

        I CERTIFY that I served Plaintiff’s motion for extension of time to submit settlement
letter upon opposing counsel through the ECF system on October 19, 2020.

                                                         /s/ Janaan Hashim
                                                         _________________________
                                                         Plaintiff’s Limited Scope Attorney

Janaan Hashim
Amal Law Group, LLC
225 W. Washington Boulevard
Suite 2200
Chicago, Illinois 60606
708-361-3600




                                             5
